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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  SKY MEDICAL SUPPLY INC.,

                                       Plaintiff,                        ORDER

                   -against-                                        CV 12-6383 (JFB) (AKT)

  SCS SUPPORT CLAIM SERVICES, INC., PATIENT FOCUS
  MEDICAL EXAMINATIONS, PC d/b/a ALL BOROUGH
  MEDICAL, PC, NATIONWIDE MANAGEMENT INC., BAB
  MANAGEMENT INC., MANAGEMENT COMPANY A,
  M ANAGEMENT C OMPANY B, M ANAGEMENT
  C OMPANY C, M ANAGEMENT C OMPANY D,
  MANAGEMENT COMPANY E, BENJAMIN OSIASHVILI
  a.k.a VENIAMIN OSIASHVILI, MIKAEL OSIASHVILI a.k.a
  MICHAEL OSIASHVILI, SVETLANA OSIASHVILI,
  ALEKSEY VAYNER a.k.a ALEX VAYNER, EITAN
  DAGAN, MANAGER DEFENDANT A, MANAGER
  DEFENDANT B, MANAGER DEFENDANT C, MANAGER
  DEFENDANT D, MANAGER DEFENDANT E, TATIANA
  SHARAHY, MD, MITCHELL EHRLICH, MD, JOSEPH C.
  COLE, MD, JULIO WESTERBAND, MD, WILLIAM A.
  ROSS, MD, RENAT R. SUKHOV, MD, WILLIAM S.
  KRITZBERG, MD, ROBERT A. SOHN, DC, STANLEY
  ROSS, MD, MITCHELL L. WEISMAN, MD, MARK
  WEBER, MD, GARY J. FLORIO, MD, ANTONIO
  MARTINS, MD, DAMION A. MARTINS, MD, M.S.,
  DANTE BRITTIS, MD, CHRISTOPHER FERRANTE, DC,
  BRIAN FREINDLICH, DC, WAYNE KERNESS, MD,
  DENIS MANN, DC, ANDREW MILLER, MD, ANDREW
  BAZOS, MD, DREW STEIN, MD, LINDA ACKERMAN
  and EVGENIYA VAKIDOVA,

                                      Defendants.
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   A. KATHLEEN TOMLINSON, Magistrate Judge:

          On July 1, 2018, this Court, pursuant to Rule 53 of the Federal Rules of Civil Procedure

  and the Court’s inherent equitable powers, appointed a Special Master in this case to assist the

  Court in resolving the impasse between the parties concerning certain subpoenas. See
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  DE 600. The Court ordered that the Special Master, Clifford Robert, Esq., would have broad

  plenary powers to take all steps necessary or desirable to achieve the following purposes:

         1.      to hear, consider and report and recommend on: (A) the disputes involving
                 Plaintiff Sky Medical Supply, Inc., Defendant Nationwide Management, Inc., and
                 third-parties PDB Management NY Inc. and TCMR Management, Inc. as to the
                 four modified Chase subpoenas at issue; and (B) any other discovery dispute(s)
                 outstanding as of the date of this Order;

         2.      report back to the Court by preparing and transmitting a Report and
                 Recommendation as to the specific recommended disposition of the issues raised;
                 and

         3.      take such further or additional action that the Court may direct and instruct the
                 Special Master to undertake.

  Id.

         On October 29, 2018, the Special Master filed his Report and Recommendation

  consisting of the following findings:

         1.      The records sought by the Chase subpoenas are relevant and discoverable under
                 Fed. R. Civ. P. 26(b)(1) to the extent that they are circumscribed and limited to
                 the time period between November 3, 2006 and January 18, 2010 and to the
                 documents and records pertaining to the 177 claims previously ruled upon by the
                 Court;

         2.      Since Chase was unable to filter out records pertaining only to the 177 claims, the
                 Special Master recommended that the Chase subpoenas be made returnable to the
                 Objectors and that they undertake a review of the records to determine which
                 documents pertain to the 177 claims. Since neither Chase nor Sky Medical has
                 the correlating information which Chase needs to separate out the relevant
                 documents, and since the information sought should be in the exclusive
                 possession, custody and control of the Objectors who have apparently lost relevant
                 books and records, the Special Master recommended that the Objectors bear the
                 costs and expense of the review. To the extent that Sky Medical objects to the
                 Objectors review of the documents, the Special Master recommended that a
                 neutral party be appointed to conduct the review and that the parties share the
                 costs and expenses of that review.




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         In accordance with Rule 53(f)(2), any objections to the Special Master’s Report and

  Recommendation had to be filed “no later than 21 days after a copy is served, unless the court

  sets a different time.” None of the parties filed objections to the Special Master’s Report and

  Recommendation and the deadline to do so has long since passed. “In acting on the master’s

  report, the Court may adopt or affirm; modify; wholly or partly reject or reverse; or resubmit to

  the master with instructions.” Cintron v. Vaughn, No. 3: 69 CV 13578, 2007 WL 4240856, at *5

  (D. Conn. Nov. 29, 2007). The Court therefore affirms and adopts the well reasoned Special

  Master’s Report and Recommendation in its entirety. See Chevron Corp. v. Donziger, 11 Civ.

  0691, 2017 WL 6626650, at *1 (S.D.N.Y. Dec. 27, 2017); Gulino v. Bd. of Educ. of the City of

  New York, 96-CV-8414, 2017 WL 408-2304, at *1 (S.D.N.Y. Sept. 8, 2017).



                                                               SO ORDERED.

  Dated: Central Islip, New York
         February 8, 2019

                                                               /s/ A. Kathleen Tomlinson
                                                               A. KATHLEEN TOMLINSON
                                                               U.S. Magistrate Judge




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